                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                           WESTERN DIVISION

UNITED STATES OF AMERICA,
              Plaintiff,                           No. 06-CR-4059-DEO
vs.                                                         ORDER
MIGUEL ANGEL ROLON-RAMOS,
              Defendant.
                           ____________________

I.     INTRODUCTION

       This matter is before this Court pursuant to defendant’s

motion for:      (1) Judgment of Acquittal.               Docket No. 65.        The

government resisted this motion.              Docket No. 69.          On October

6, 2006, this defendant was found guilty by jury verdict of

conspiracy to distribute 500 grams or more of Methamphetamine

in Count I, and of aiding and abetting the possession of a

firearm in furtherance of a drug trafficking crime in Count

II.

       The government presented evidence from two cooperating

witnesses and several law enforcement officers.                       One of the

cooperating witnesses, Donald Steburg, testified regarding his

previous     transactions         with   defendant’s       co-conspirator/co-

defendant Garcia-Hernandez.              Steburg testified that he had

received over ten pounds of methamphetamine from Garcia-

Hernandez.        There    was     evidence       submitted     of   voice     mail



     Case 5:06-cr-04059-DEO-LTS     Document 84     Filed 12/20/06   Page 1 of 12
messages     left     by    Garcia-Hernandez     on    Steburg’s      answering

machine, such as “we need to meet.”              Steburg also cooperated

in making controlled phone calls to Garcia-Hernandez and

arranging a meeting place between the two.

       Agent John Howard testified that he accompanied Steburg

on    a   couple    of     occasions   when   Steburg    met      with   Garcia-

Hernandez.      On the day of the arrest, June 13, 2006, Steburg

was dropped off by Agent Howard at the Jo-Mart Motel. Steburg

was wearing a wire and entered into one of the rooms with the

three defendants in this case, including Rolon-Ramos. Steburg

testified      that      while    in   the   room,    Garcia-Hernandez        was

demanding the money that Steburg owed him for past drug debts.

Steburg also stated that Garcia-Hernandez pulled out a gun and

pointed it at Steburg; Steburg attempted to walk out, but the

other occupants of the room blocked the doorway.                         Steburg

could not remember if the individual that bolted and blocked

the door was Rolon-Ramos or the third defendant, Deluna-Ponce.

       Steburg testified that he convinced Garcia-Hernandez to

let him go out to the vehicle to get some of the owed money.

Steburg left his cell phone in the room as assurance of his

return.     After Steburg returned to the car, Agent Howard and




                                         2


     Case 5:06-cr-04059-DEO-LTS    Document 84   Filed 12/20/06    Page 2 of 12
Steburg left the motel parking lot because Steburg stated that

they had a gun and he was not returning to the room.

    After leaving the parking lot area, Agent Mark Minten,

who was on site during this transaction, testified that he

received a telephone call from Garcia-Herandez using Steburg’s

cell phone that he had left in the room.                       Agent Minten

testified that Garcia-Hernandez inquired how much Steburg was

charging him, Agent Minten (Garcia-Hernandez was unaware the

he was speaking to a law enforcement officer) and Garcia-

Hernandez stated that he could supply Minten with two ounces

of methamphetamine for $2,000 and later supply Minten with a

pound of methamphetamine for a cheaper price than what Steburg

was charging Minten.

    Several    other    officers       also   testified        about    their

observations during the surveillance of the meeting place at

the Jo-Mart Motel.     Officer Mike Simons testified that he saw

Steburg enter and leave the motel room. Simons also testified

that he saw Rolon-Ramos leave the motel room shortly after

Steburg, and Simons physically demonstrated that Rolon-Ramos

left the room as if he was concealing something in his

waistband.




                                   3


  Case 5:06-cr-04059-DEO-LTS   Document 84    Filed 12/20/06    Page 3 of 12
    Officer      Howard    testified     that     small       amounts        of

methamphetamine were seized in a shoe and a bag of bread

inside of the motel room that the defendants were in and a

small amount of methamphetamine was located on the person of

this defendant, Rolon-Ramos.

    A second cooperating witness, Jason Bolden, testified

about    his   previous   involvement    and    knowledge     of   Garcia-

Hernandez.     Bolden testified that he had, over a period of

time, received over fifteen pounds of methamphetamine from

Garcia-Hernandez.     Bolden described how, when, and how much

methamphetamine Bolden received from Garcia-Hernandez.                There

was clear evidence of a drug conspiracy. The question is “was

this defendant Rolon-Ramos a member of it and whether or not

there was a gun, and if so, what connection this defendant,

Rolon-Ramos, had in relation to a gun?”

II. ANALYSIS

    A.     Judgment of Acquittal

    Defendant moves the Court for judgment of acquittal

urging that the evidence was insufficient to establish that he

entered into a conspiracy.         Docket No. 65-2, at 2.            Rolon-

Ramos argues that the government did not prove that he had any

involvement with Garcia-Hernandez prior to June 13, 2006, and


                                   4


  Case 5:06-cr-04059-DEO-LTS   Document 84   Filed 12/20/06   Page 4 of 12
any controlled substance had already been distributed prior to

June 13, 2006. Id. Rolon-Ramos further contends that even if

he did become part of the conspiracy, there was no evidence

that he became part of one prior to June 13, 2006; therefore,

the most Rolon-Ramos can be held accountable for is the one

pound of methamphetamine that the agents were trying to obtain

on June 13, which is less than 500 grams, the amount that he

was charged with.     Id.

    Under Federal Rule of Criminal Procedure 29(a), “if the

evidence is insufficient to sustain a conviction of such

offense or offenses[,]” a court may enter a judgment of

acquittal on one or more counts.        This Court is aware that it

has “very limited latitude when considering a motion for

[judgment of] acquittal.”       United States v. Yockel, 320 F.3d.

818, 824 (8th Cir. 2003).

    “[T]he district court is not to weigh the evidence or

consider the credibility of the witnesses but rather to

determine whether the government has presented evidence on

each element sufficient to support a jury verdict.”                  United

States v. Chavez, 230 F.3d 1089, 1091 (8th Cir. 2000).                   “In

reviewing the sufficiency of the evidence, [the district

court] view[s] the evidence in the light most favorable to the



                                   5


  Case 5:06-cr-04059-DEO-LTS   Document 84   Filed 12/20/06   Page 5 of 12
government, resolving evidentiary conflicts in favor of the

government, and accepting all reasonable inferences drawn from

the evidence that support the jury’s verdict.”                    United States

v. White, 81 F.3d 80, 82 (8th Cir. 1996).              “The jury’s verdict

must be upheld if there is an interpretation of the evidence

that would allow a reasonable jury to find the defendant

guilty beyond a reasonable doubt.”              Powell v. United States,

231 F.3d 464, 465 (8th Cir. 2000).

      “After reviewing the evidence under these standards, we

will reverse only if we conclude that no reasonable jury could

find guilt beyond a reasonable doubt.”                     United States v.

Basile, 109 F.3d 1304, 1310 (8th Cir. 1997).                 If the evidence

is such that reasonable minds might differ as to the outcome,

then the question is one of fact for the jury to resolve, not

a matter of law to be decided by the court.                United States v.

Wyant, 576 F.2d 1312, 1315 (8th Cir. 1978).

      In order to find Rolon-Ramos guilty of the conspiracy

offense      charged,   the    government       had   to    prove     beyond       a

reasonable doubt (1) the existence of a conspiracy with an

illegal purpose; (2) Rolon-Ramos was aware of the conspiracy;

and (3)knowingly became part of it. United States v. Beckman,

222   F.3d    512,   522   (8th    Cir.   2000).       “Either       direct       or



                                      6


  Case 5:06-cr-04059-DEO-LTS      Document 84    Filed 12/20/06    Page 6 of 12
circumstantial evidence can provide the basis of a conviction

[for a conspiracy].” United States v. Jiminez-Perez, 238 F.3d

970, 973 (8th Cir. 2001).              “Once the government establishes

the   existence      of    a   conspiracy,         only     slight      evidence           is

required to link a defendant to the conspiracy.                             This places

a heavy burden on a defendant challenging the sufficiency of

the evidence in a conspiracy case.”                   Id.

      This Court would note that the indictment charged that

Rolon-Ramos conspired with other named defendants but also

with other unknown persons.               Docket No. 1.            “To prove the

existence     of     a    conspiracy,        the    government          may      provide

information        regarding     how     long      [the     conspirators]             were

associated with each other, their established methods of

payment, whether or not their transactions were standardized,

and their demonstrated level of mutual trust.”                         United States

v. Washington, 318 F.3d 845, 852 (8th Cir. 2003).                                     Both

cooperating      witnesses,      Steburg        and    Bolden,         in     this    case

described   in      detail     their    drug-related         transactions             with

Garcia-Herandez          and   his   modus    operandi.           “[E]vidence              of

multiple sales of resale quantities of drugs is sufficient in

and of itself to make a submissible case of a conspiracy to




                                         7


  Case 5:06-cr-04059-DEO-LTS         Document 84      Filed 12/20/06        Page 7 of 12
distribute.”      United States v. Eneff, 79 F.3d 104, 105 (8th

Cir. 1996).

       This   Court    is   persuaded      that     there     was    more     than

sufficient evidence to establish that a conspiracy existed.

Only    “slight       evidence”    connecting        Rolon-Ramos         to    the

conspiracy is required to support a conspiracy conviction. It

is not necessary to prove that Rolon-Ramos knew all of the

conspirators or all of the details of the conspiracy.                          See

United States v. Foote, 898 F.2d 659 (8th Cir. 1990); see also

Washington, 318 F.3d at 853.              This Court is persuaded that

there is more than “slight evidence” connecting Rolon-Ramos to

the conspiracy.

       Rolon-Ramos was in the motel room with the two other

conspirators, Garcia-Hernandez and Deluna-Ponce.                         Garcia-

Hernandez was contemplating a drug transaction, but when

Steburg entered the motel room, Hernandez confronted Steburg

and was attempting to collect from Steburg for what Steburg

called an old drug debt.             Steburg testified that Garcia-

Hernandez was attempting to collect money for drugs that

Garcia-Hernandez had given or “fronted” to Steburg previously.

Steburg also stated that a gun was pointed towards him by

Garcia-Hernandez and that Rolon-Ramos and the third defendant,



                                      8


  Case 5:06-cr-04059-DEO-LTS      Document 84     Filed 12/20/06    Page 8 of 12
Deluna-Ponce, blocked the exit after Garcia-Hernandez said

something in Spanish.      Rolon-Ramos was later found to have a

small amount of methamphetamine on his person.

    This Court is persuaded that through circumstantial and

direct evidence, there was sufficient evidence to show and it

was reasonable for the jury to conclude, that Rolon-Ramos was

a part of this conspiracy.             “[W]here sufficient evidence

exists to support a finding that a conspiracy existed and that

a particular defendant was a member of that conspiracy, a jury

may find that defendant guilty of substantive crimes committed

by coconspirators in furtherance of the conspiracy, even

though the defendant did not participate in the substantive

offense.”   United States v. Garcia, 785 F.2d 214, 225-26 (8th

Cir. 1986).

    This Court recognizes that the case against Rolon-Ramos

is somewhat weaker than the other two defendants in the case,

Garcia-Hernandez and Deluna-Ponce, because the key prosecution

witnesses and the government agents had never seen Rolon-Ramos

before June 13, 2006, the day of this arrest.                 This Court is

persuaded that there is sufficient circumstantial evidence

connecting him to the conspiracy.




                                   9


  Case 5:06-cr-04059-DEO-LTS   Document 84   Filed 12/20/06    Page 9 of 12
     Based on the foregoing, this Court is persuaded that

there “is an interpretation of the evidence that would allow

a reasonable jury to find the defendant guilty beyond a

reasonable doubt” as to the conspiracy charge in Count I.

Powell, 231 F.3d at 465.

     With regard to Count II, the government was required to

prove that Rolon-Ramos aided and abetted the use, carrying, or

possession of a firearm and that a firearm must have been

possessed “in furtherance of” a drug trafficking crime.                   See

18 U.S.C. § 924(c)(1).         This Court has already concluded that

it was reasonable for the jury to conclude that the events

that took place in the Jo-Mart Motel room, plus all of the

surrounding additional facts, that there was a conspiracy to

distribute methamphetamine.              Whether or not there was a

firearm in that motel room being used in furtherance of a drug

trafficking crime is the second question.

     As previously indicated, Steburg was wearing a wire when

he entered the motel room.        During the entire time, he did not

say anything about any gun that was heard over the wire.

Steburg testified at the trial about the appearance of the

firearm, and what Garcia-Hernandez was doing with the firearm.

Steburg described roughly the gun’s length, width, and opening



                                    10


  Case 5:06-cr-04059-DEO-LTS    Document 84   Filed 12/20/06   Page 10 of 12
of the barrel.        Officers testified regarding what they had

heard from the wire that Steburg was wearing.                     The officers

testified that the situation became very hostile in the motel

room and that Steburg seemed scared.                  Some of the officers

also testified that they were considering going into the room

to aid Steburg.

       There was never a firearm found on any of the defendants

or anywhere on the premises. Officer Simons testified that he

saw Rolon-Ramos leave the room as if he was trying to conceal

something.     Several officers stated that they searched the

whole area thoroughly but did not find a firearm.

       This   Court   is   persuaded         that     there   is     more    than

sufficient evidence to allow a reasonable jury to conclude

that there was a firearm in the Jo-Mart Motel room which was

possessed in furtherance of the overall drug conspiracy, and

that    Rolon-Ramos     aided    and        abetted    this   possession           by

assisting in bolting and blocking the door.                         This Court

requested case law, but was not presented any and did not find

any on its own, pertaining to this issue; however this Court

is persuaded that the use of a firearm as a means to collect

past drug debts is “in furtherance” of that conspiracy.




                                       11


  Case 5:06-cr-04059-DEO-LTS    Document 84      Filed 12/20/06    Page 11 of 12
     Again viewing all of the evidence “in the light most

favorable to the government” and giving the government the

benefit   of   “all    reasonable        inferences”,     this    Court        is

persuaded that the jury’s verdict with regard to Counts I and

II is supported by sufficient evidence and should not be

overturned.    There is an interpretation of the evidence that

would allow a reasonable jury to find the defendant guilty

beyond a reasonable doubt.        See Powell v. United States, 231

F.3d 464, 465 (8th Cir. 2000).               Therefore, based on the

foregoing, defendant’s motion for judgement of acquittal,

Docket No. 65, is denied.

     IT IS SO ORDERED this 20th day of December, 2006.


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                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




                                    12


  Case 5:06-cr-04059-DEO-LTS   Document 84    Filed 12/20/06   Page 12 of 12
